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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

 Date: October 29, 2024          Time: 21 minutes          Judge: WILLIAM H. ORRICK
                                 2:23 p.m. to 2:44 p.m.
 Case No.: 23-cv-00201-WHO       Case Name: Andersen v. Stability AI Ltd., et al.

Attorneys for Plaintiff: Arielle S. Wagner, Christopher Young, Matthew Butterick, and
Joseph R. Saveri

Attorneys for Stability: Joseph C. Gratz

Attorneys for Midjourney: Angela Dunning

Attorneys for DeviantArt, Inc.: Andrew M. Gass and Brittany N. Lovejoy

Attorneys for Runway AI, Inc.: David J. Silbert, Paven Malhotra, and Bailey W. Heaps

 Deputy Clerk: Jean Davis                                   Court Reporter: Beth Krupa


                          PROCEEDINGS and MINUTE ORDER

Case Management Conference conducted via videoconference. The Court tightens the parties’
proposed schedule, to advance the trial date and set the motions for class certification and
summary judgment at the same time, rather than sequenced. The Court welcomes fine tuning of
the schedule via stipulation of counsel. Otherwise, the court adopts the schedule proposed in the
Joint Case Management Statement through the replies to the motions (Oct. 19, 2026) and sets the
other dates noted in this Minute Order.

Assuming that the expected Second Amended Complaint impacts only the named plaintiffs who
may have no claims following the Court’s August 12, 2024 Order, and does not add claims or
otherwise expand the scope of the case, the discovery stay is LIFTED and full discovery may
commence.

Further Case Management Conference set for December 17, 2024 at 2:00 p.m. Case
management statement to be filed by December 10, 2024.

Motion Hearing Class Certification and Summary Judgment set for November 4, 2026 at 2:00
p.m.
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TRIAL SCHEDULE:

Pretrial Conference:          March 1, 2027 at 2:00 p.m.
Trial:                        April 5, 2027 at 8:30 a.m. by Jury
